                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )       No. 3:05-CR-97
 V.                                                   )       (JARVIS/GUYTON)
                                                      )
 HEATHER NATASHA WHITT,                               )
                                                      )
                        Defendant.                    )


                                     MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter is before the Court on the defendant’s Motion

 for Furlough [Doc. 14], which the Court ordered filed under seal on September 19, 2005. The

 Court held a hearing on this motion on that same day. Through her motion and defense

 counsel’s explanation thereof, the defendant requests to be released for a furlough in order to

 undergo a medical procedure at her own expense on Friday, September 23, 2005. She requests

 that she be released into the third-party custody of her mother from noon on Thursday,

 September 22, through 10:00 a.m. on Tuesday, September 27, 2005. Such time period allows for

 processing time, the medical procedure, a follow-up appointment, and a brief recovery time. The

 government has stated that it does not oppose the motion.

        The Court notes that the defendant has a constitutional right to choose the medical

 procedure in question. The government has acknowledged the same. The Court’s personal

 views on the matter are irrelevant, and the Court will follow and apply the law to this case. Let


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 there be no misunderstanding. The Court is granting the requested furlough, as the Court is

 legally bound to do. The Court is not ordering that the medical procedure in question be

 performed.

        The defendant’s Motion for a Furlough [Doc. 14] is GRANTED. The Court ORDERS

 that the defendant be released from her pretrial detention on Thursday, September 22, 2005, on

 or around noon. During the time period of her furlough, the defendant is to remain in the

 custody of her mother or medical personnel. The defendant is admonished to abide by all laws

 and by any requirements placed upon her by the United States Marshals Service. The defendant

 is to self-report to the Marshals Service at 10:00 a.m. on Tuesday, September 27, 2005, as

 directed by the Marshals.

        Finally, the Court ordered this motion and the Court’s ruling thereon to be sealed, to

 ensure the legally protected privacy rights of the defendant. However, the details of this matter

 were published on September 20, 2005. Said publication rendered moot the sealing of this

 matter, and accordingly, the seal is lifted on the Motion [Doc. 14] and the Court’s ruling.

        IT IS SO ORDERED.

                                               ENTER:


                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




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